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H{ED B% ____ D.C.
IN THE UNITED STATES DISTRICT COU'RT _
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL _-7 FH '2: 29

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UNITED sTATEs or AMERICA )
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Plaintiff, }
)
vs. ) cR. No. 05-20063»D
) 05~20072-D
ARIANE GRANT ) 05-20073-0¢’
Defendant. ) 05-20074-D
) 05-20078-0

 

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AND §!HEEILLE

 

This cause came to be heard on July 1, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Ariane Grant, appearing in person and with
counsel, Larry E. Copeland, Jr., who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l in each of the
Indictments.

Remaining Counts shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for MONDAY, OCTOBER 3, 2005, at
1:30 P.M., in Courtroam No. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the {2 #`day of July, 2005.

 

 

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UNITED S`T"RATEDISTIC COUR - W"'RNTE D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:05-CR-20073 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

